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                    UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


IN RE: GEORGIA SENATE BILL 202                             No. 1:21-MI-55555-JPB
                                                                     ALL CASES

                                      ORDER

      This matter is before the Court on the parties’ Consent Motion to Extend

Discovery Schedule and Request for Status Conference [Doc. 387]. After due

consideration, the motion is GRANTED IN PART.

      IT IS HEREBY ORDERED that all deadlines are extended by two weeks.

Thus, discovery shall close on March 31, 2023. Motions for summary judgment

shall be filed no later than May 2, 2023, with briefing to be complete by June 21,

2023. The Court will not hold a status conference to discuss trial dates or logistics

at this time. Discussion of trial planning is premature where, as here, discovery is

still ongoing and dispositive motions have not yet been filed.

      SO ORDERED this 6th day of February, 2023.
